       Case 8:19-cv-01944-SAG          Document 261        Filed 05/04/25      Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                              )
J.O.P., et al.,                               )
                                              )
                 Plaintiffs,                  )
                                              )
        v.                                    ) Case No. 8:19-cv-01944-SAG
                                              )
U.S. DEPARTMENT OF HOMELAND                   )
SECURITY, et al.                              )
                                              )
                 Defendants.                  )
__________________________________________)

 DEFENDANTS’ MOTION TO VACATE SECTION TWO OF THE COURT’S ORDER
     GRANTING PLAINTIFFS’ MOTION TO ENFORCE THE SETTLEMENT
  AGREEMENT OR, IN THE ALTERNATIVE, TO STAY SECTION TWO PENDING
                             APPEAL


       Pursuant to Federal Rules of Civil Procedure 60(b) and 62, Defendants respectfully request

that this Court vacate Section Two of this Court’s April 23, 2025 Order Granting Plaintiffs’ Motion

to Enforce the Settlement Agreement. See Mem Op., ECF No. 253; Order, ECF No. 254. In the

alternative, Defendants request that the Court’s Order be stayed pending appeal to the Fourth

Circuit.

       In support of this Motion, Defendants rely on their memorandum filed contemporaneously

with this motion. A proposed order is attached.


Dated: May 4, 2025                           Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General
                                              Civil Division

                                              WILLIAM C. PEACHEY
                                              Director
                                              Office of Immigration Litigation
Case 8:19-cv-01944-SAG   Document 261     Filed 05/04/25    Page 2 of 2



                              YAMILETH G. DAVILA
                              Assistant Director

                              ERHAN BEDESTANI
                              Trial Attorney

                              /s/Richard Ingebretsen
                              RICHARD G. INGEBRETSEN
                              Trial Attorney (DC Bar No. 1736200)

                              U.S. Department of Justice
                              Civil Division
                              Office of Immigration Litigation
                              P.O. Box 868, Ben Franklin Station
                              Washington, DC 20044
                              Telephone: (202) 616-4848
                              Fax: (202) 305-7000
                              richard.ingebretsen@usdoj.gov

                             Attorneys for Defendants




                                2
